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                                                               ATIXA%Tip%of%the%Week%%
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SEX%AND%BOOZE%
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Tip$of$the$Week$authored$by$Brett$A.$Sokolow,$J.D.,$ATIXA$Executive$Director$$
$
Okay,$so$I’m$all$fired$up$again.$$In$the$last$two$weeks,$I’ve$worked$on$five$cases$all$involving$drunken$
hookGups$on$college$campuses.$$In$each$case,$the$male$accused$of$sexual$misconduct$was$found$
responsible.$$In$each$case,$I$thought$the$college$got$it$completely$wrong.$$My$friends,$these$are$challenging$
cases,$no$doubt.$$But,$we$have$to$get$them$right.$$We’ve$written$about$this$at$length$and$talked$about$it$
forever,$but$some$boards$and$panels$still$can’t$tell$the$difference$between$drunk$sex$and$a$policy$
violation.$$Perhaps$the$problem$stems$from$weak$policy,$insufficient$training$or$the$futility$of$the$panel$
model.$$Regardless,$we$need$to$fix$it.$$$
$
So,$let$me$come$at$this$from$another$angle.$$Finding$each$of$the$accused$in$violation$of$sexual$misconduct$
is$sex$discrimination.$$We$are$making$Title$IX$plaintiffs$out$of$them.$$The$customs$and$practices$of$the$
field$of$higher$education$have$adopted,$as$a$common$policy$formulation,$that$sexual$actions$with$a$person$
the$respondent$knows$to$be$incapacitated,$or$should$know$to$be$incapacitated$by$alcohol,$drugs,$sleep,$
etc.,$is$prohibited.$$This$is$the$nonGdiscriminatory$way$to$frame$policy.$$But,$in$a$recent$case,$the$campus$
policy$stated$that$intoxication$creates$an$inability$to$consent.$$Thus,$in$any$situation$in$which$a$male$
student$and$a$female$student$have$sex,$and$both$are$intoxicated,$this$college$will$commit$an$act$of$gender$
discrimination$by$only$charging$one$of$them.$$If$both$are$intoxicated,$they$both$did$the$same$thing$to$each$
other.$$Why$should$only$the$male$be$charged$if$both$students$behave$in$ways$defined$as$prohibited$by$the$
policy?$I’m$not$suggesting$we$charge$both.$$Surely,$every$drunken$sexual$hookGup$is$not$a$punishable$
offense,$especially$if$the$parties$know$what$they$did$and$liked$it.$$$
$
A$common$policy$problem$comes$from$failing$to$distinguish$between$intoxicated$and$incapacitated.$Yet,$
the$most$serious$issue$comes$from$failing$to$implement$a$mens%rea,$if$you$will,$within$the$
definition.$$Certainly,$criminal$concepts$like$mens%rea$are$not$strictly$applicable$to$the$campus$conduct$
process,$but$if$we$agree$as$I$stated$above$that$having$sex$with$a$willing,$yet$intoxicated$person$is$not$an$
offense,$there$must$be$something$that$the$respondent$does,$beyond$having$sex,$that$makes$a$lawful$act$
(sex)$into$a$policy$violation.$$$
$
In$the$common$formulation$I$offered$above,$the$key$is$that$the$respondent’s$culpability$rests$on$two$
factors,$the$incapacitation$of$the$victim$and$his$knowledge$of$that$incapacitation,$whether$actual$or$
constructive.$Thus,$the$respondent$does$something$more$than$to$have$sex,$which$is$lawful.$$The$
respondent$takes$advantage$of$the$victim’s$incapacity,$and$the$taking$advantage$is$the$harmful$
element.$$The$taking$advantage$comes$because$the$respondent$knows$the$victim$is$weak,$unable$to$make$
reasonable$decisions$and$cannot$have$knowledge$of$the$act.$$This$cannot$be$proved$by$the$victim’s$
assertion$of$her$own$incapacity,$blackout$or$lack$of$memory.$$This$is$shown$by$the$totality$of$evidence$
composed$of$some$or$all$of$the$following$factors$that$the$respondent$knew$or$should$have$known:$
$


                                                                      Exhibit 22, Page 1
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     1. The$respondent$knew$that$the$complainant$was$drinking$or$using$drugs$and$may$know$how$
        much/what$kind;$
     2. The$victim$was$stumbling$or$otherwise$exhibited$loss$of$equilibrium;$
     3. Slurred$speech$or$word$confusion;$
     4. Bloodshot,$glassy$or$unfocused$eyes:$
     5. Any$of$the$signs$of$alcohol$poisoning;$
     6. Vomiting,$especially$repeatedly;$
     7. Being$disoriented,$or$confused$as$to$time,$place,$etc.;$and/or$
     8. Loss$of$consciousness$
        $
A$good$policy$cannot$make$it$a$violation$simply$for$male$students$to$have$sex$with$an$intoxicated$person,$
if$they$are$completely$ignorant$of$that$fact.$$Thus,$they$are$just$having$sex.$$They$do$nothing$that$
additionally$transgresses,$is$wrongful$or$is$intentional$any$more$than$they$do$every$time$they$have$
sex.$$There$is$no$need$for$an$intent$to$rape,$but$there$has$to$be$something$more$than$an$intent$to$have$sex$
to$make$this$an$offense.$$Otherwise,$men$are$simply$being$punished$for$having$sex,$which$is$gender$
discrimination$under$Title$IX,$because$their$partners$are$having$sex$too$and$are$not$being$subject$to$the$
code$of$conduct$for$doing$so.$$Without$a$knowledge$standard,$a$respondent$will$suffer$an$arbitrary$and$
capricious$application$of$the$college’s$rules.$$$
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